Case:17-03283-LTS Doc#:4855 Filed:01/22/19 Entered:01/22/19 18:15:07                                    Desc: Main
                           Document Page 1 of 7


                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF PUERTO RICO

In re:

THE FINANCIAL OVERSIGHT AND                                    PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,
                                                               Title III
         as representative of
                                                               Case No. 17-BK-3283 (LTS)
THE COMMONWEALTH OF PUERTO RICO, et
al.,                                                           Jointly Administered

                                  Debtors. 1


               THIRD SUPPLEMENTAL VERIFIED STATEMENT OF THE PBA FUNDS
               PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 2019

           The ad hoc group of certain unaffiliated funds, accounts, and/or managers of funds or

  accounts (collectively, the “PBA Funds”) holding Revenue Refunding Bonds, Government

  Facilities Revenue Bonds, and Government Facilities Revenue Refunding Bonds issued by the

  Puerto Rico Public Buildings Authority (“PBA”) and guaranteed by the Commonwealth

  (collectively, the “PBA Bonds” and, together with all other bonds issued or guaranteed by the

  Commonwealth, the “Constitutional Debt”) hereby submits this verified statement (this

  “Supplemental Statement”), as contemplated by Rule 2019 of the Federal Rules of Bankruptcy

  Procedure (the “Bankruptcy Rules”)2 and the Order Further Amending Case Management

  Procedures [ECF No. 4086].             In support of this Supplemental Statement, the PBA Funds

  respectfully state as follows:

  1
    The Debtors in these title III cases, along with the last four digits of each Debtor’s federal tax identification
  number, are the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (No. 17-BK-3283-LTS) (3481);
  (ii) Employees Retirement System of the Government of the Commonwealth of Puerto Rico (No. 17-BK-3566-LTS)
  (9686); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (No. 17-BK-3567-LTS) (3808);
  (iv) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (No. 17-BK-3284-LTS) (8474); and (v) Puerto Rico
  Electric Power Authority (“PREPA”) (No. 17-BK-4780-LTS) (3747).
  2
   Made applicable to these Title III cases by Section 310 of the Puerto Rico Oversight, Management, and Economic
  Stability Act (“PROMESA”), 48 U.S.C. § 2170.


  ny-1359078
Case:17-03283-LTS Doc#:4855 Filed:01/22/19 Entered:01/22/19 18:15:07                                       Desc: Main
                           Document Page 2 of 7


          1.       On or around July 1, 2017, the PBA Funds retained Morrison & Foerster LLP

 (“Morrison & Foerster”).           In October 2017 the PBA Funds retained G. Carlo-Altieri Law

 Offices, LLC (“G. Carlo-Altieri”) as Puerto Rico counsel (together with Morrison & Foerster,

 “Counsel”).

          2.       On November 3, 2017, Counsel to the PBA Funds submitted the Verified

 Statement of the PBA Funds Pursuant to Federal Rule of Bankruptcy Procedure 2019 [ECF

 No. 1614]. Counsel submitted supplemental verified statements on February 15 and June 13,

 2018 [ECF Nos. 2522, 3299]. Counsel submits this Supplemental Statement to update the

 membership in the PBA Funds and information regarding the disclosable economic interests

 currently held by members of the PBA Funds.

          3.       The members of the PBA Funds hold disclosable economic interests or act as

 investment managers or advisors (or are affiliates of entities which act as investment managers or

 advisors) to funds and/or accounts that hold disclosable economic interests in relation to the

 certain of the Debtors. Based upon information provided to Counsel by the members of the PBA

 Funds, attached hereto as Exhibit A is a list of the names, addresses, nature, and amount of

 disclosable economic interests of each member of the PBA Funds as of January 18, 2019, in

 accordance with Bankruptcy Rule 2019.

          4.       In addition to the PBA Funds, as of the date of this Supplemental Statement

 Counsel also represents the Ad Hoc Group of Constitutional Debtholders3 in connection with

 these Title III cases. 4


 3
  See Supplemental Verified Statement of the Ad Hoc Group of Constitutional Debtholders Pursuant to Federal Rule
 of Bankruptcy Procedure 2019 [ECF No. 4178].
 4
   G. Carlo-Altieri has also been retained by: (a) a provider of utility services to the Commonwealth and/or its related
 instrumentalities and public corporations; (b) a corporation and its related entities holding potential litigation and
 trade claims against HTA and the Commonwealth and/or its related instrumentalities and public corporations; and
 (c) a corporation holding potential trade claims against PREPA. G. Carlo-Altieri has advised these clients with


 ny-1359078                                                2
Case:17-03283-LTS Doc#:4855 Filed:01/22/19 Entered:01/22/19 18:15:07                               Desc: Main
                           Document Page 3 of 7


         5.      Nothing contained in this Supplemental Statement (or Exhibit A hereto) should be

 construed as a limitation upon, or waiver of, any rights of any member of the PBA Funds to

 assert, file, and/or amend any claim or proof of claim filed in accordance with applicable law and

 any orders entered in these cases.

         6.      Counsel reserves the right to amend this Supplemental Statement as necessary in

 accordance with the requirements set forth in Bankruptcy Rule 2019.

                                         [Signature page follows]




 respect to the Commonwealth’s restructuring generally, has prepared and filed proofs of claim, and has settled
 certain motions and contested matters on behalf of certain of these entities. See, e.g., ECF Nos. 3423, 3940.



 ny-1359078                                            3
Case:17-03283-LTS Doc#:4855 Filed:01/22/19 Entered:01/22/19 18:15:07      Desc: Main
                           Document Page 4 of 7




 Dated: January 22, 2019

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                                                       -and-



                                  By: Gary S. Lee
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 ny-1359078                             4
Case:17-03283-LTS Doc#:4855 Filed:01/22/19 Entered:01/22/19 18:15:07                                    Desc: Main
                           Document Page 5 of 7


                                                    Exhibit A

            Names, Addresses and Disclosable Economic Interests of the PBA Funds1

           Name of Creditor2                              Address                   Nature and Amount of Disclosable
                                                                                           Economic Interest
                                                                                   Constitutional Debt
                                                                                   $17,595,000

                                               555 Theodore Fremd
                                               Avenue                              HTA Bonds
 Candlewood Investment Group, LP               Suite C-303
                                                                                   $0
                                               Rye, NY 10580

                                                                                   PREPA Debt3
                                                                                   $0
                                                                                   Constitutional Debt
                                                                                   $451,239,000


                                               55 West 46th Street                 HTA Bonds
 Fir Tree Partners                             29th Floor
                                                                                   $0
                                               New York, NY 10036

                                                                                   PREPA Debt
                                                                                   $0




 1
   To the best of Counsel’s knowledge, the information included herein is accurate as of January 18, 2019. The
 amounts set forth herein include only outstanding principal and do not include any other amounts that may be due
 and owing under the applicable debt documents and laws, including but not limited to any overdue or compounded
 interest. Capital appreciation bonds are reported at their accreted value as of January 18, 2019.
 2
  Each entity on this Exhibit A holds disclosable economic interests or acts as investment manager or advisor (or is
 an affiliate of entities which act as investment manager or advisors) to funds and/or accounts that hold disclosable
 economic interests in relation to the Debtors.
 3
  “PREPA Debt” includes all bonds issued by PREPA, as well as loans under which PREPA is the
 obligor.


 ny-1359078                                               5
Case:17-03283-LTS Doc#:4855 Filed:01/22/19 Entered:01/22/19 18:15:07          Desc: Main
                           Document Page 6 of 7


         Name of Creditor2                Address             Nature and Amount of Disclosable
                                                                     Economic Interest
                                                             Constitutional Debt
                                                             $199,540,000


                                  11601 Wilshire Boulevard   HTA Bonds
 First Pacific Advisors, LLC      Suite 1200
                                                             $0
                                  Los Angeles, CA 90025

                                                             PREPA Debt
                                                             $0
                                                             Constitutional Debt
                                                             $292,277,000


                                                             HTA Bonds
                                  300 Park Avenue
 GoldenTree Asset Management LP
                                  New York, NY 10022         $19,670,000


                                                             PREPA Debt
                                                             $358,773,000
                                                             Constitutional Debt
                                                             $11,685,000


                                  7800 SW 57th Avenue        HTA Bonds
 Inglesea Capital LLC             Unit 308
                                                             $0
                                  South Miami, FL 33143

                                                             PREPA Debt
                                                             $0




 ny-1359078                               6
Case:17-03283-LTS Doc#:4855 Filed:01/22/19 Entered:01/22/19 18:15:07         Desc: Main
                           Document Page 7 of 7


         Name of Creditor2               Address             Nature and Amount of Disclosable
                                                                    Economic Interest
                                                            Constitutional Debt
                                                            $468,056,000


                                                            HTA Bonds
                                 110 East 59th Street
 Mason Capital Management, LLC
                                 New York, NY 10022         $0


                                                            PREPA Debt
                                                            $0
                                                            Constitutional Debt
                                                            $80,064,000


                                                            HTA Bonds
                                 Two Greenwich Plaza
 Silver Point Capital, L.P.
                                 Greenwich, CT 06830        $0


                                                            PREPA Debt
                                                            $268,585,680
                                                            Constitutional Debt
                                                            $432,757,000

                                 190 Elgin Avenue, George
                                                            HTA Bonds
                                 Town
 VR Global Partners, L.P.
                                 Grand Cayman, Cayman       $16,240,000
                                 Islands, KYI-9005

                                                            PREPA Debt
                                                            $0




 ny-1359078                              7
